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    Susan M. Sharko                                                     Faegre Drinker Biddle & Reath LLP
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    973-549-7350 direct                                                 +1 973 549 7000 main
                                                                        +1 973 360 9831 fax




    Via ECF

    September 3, 2024

    Honorable Rukhsanah L. Singh, U.S. Magistrate Judge
    United States District Court- District of NJ
    Clarkson S. Fisher Building & U.S. Courthouse
    402 East State Street, Court Room 7W
    Trenton, NJ 08608
    Re:       In re: Johnson & Johnson Talcum Powder Products Marketing, Sales
              Practices and Products Liability Litigation - MDL 2738
    Dear Magistrate Judge Singh:

          Pursuant to the Case Management Order entered on February 13, 2024 (ECF No.
   29032), outlining procedures for adjudication of cases where the Plaintiff fails to comply
   with the Court Orders on case specific fact discovery and the Plaintiff Profile Form
   (“PPF”), please see the attached list of non-compliant cases. Counsel for these Plaintiffs
   have received notice through MDL Centrality (if they are registered there as required by
   Court Orders) and e-mail (whether registered or not).

          Enclosed are two separate lists of cases. The first attachment lists, for the first time,
   cases filed or transferred from April 17, 2024 through May 17, 2024 which are deficient in
   providing a PPF. The second attachment lists, for the second time, cases listed on the
   August 1, 2024 PPF Report (ECF 33055) that remain deficient in providing a PPF (cases
   filed or transferred from November 18, 2023 through April 16, 2024). Defendants will file
   an Order to Show Cause on October 1, 2024, should any of these November 18, 2023,
   through April 16, 2024 cases continue to fail to provide a PPF. Defendants will file an
   Order to Show Cause on November 1, 2024, should any of these April 17, 2024 through
   May 17, 2024 cases continue to fail to provide a PPF.
   Hon.
Case    Rukhsanah L. Singh, U.S. Magistrate
     3:16-md-02738-MAS-RLS                  Judge
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            Thank you for your consideration of these matters.
                                                Respectfully,

                                                /s/ Susan M. Sharko
                                                Susan M. Sharko
                                                Sean C. Garrett
                                                FAEGRE DRINKER BIDDLE & REATH
                                                LLP

                                                Attorneys for Defendants
                                                Johnson & Johnson and LLT
                                                Management, LLC

   SMS/scg
   Encl: (2)
   Cc: Leigh O’Dell, Esq. (via e-mail)
      Michelle Parfitt, Esq., (via e-mail)
      All counsel of record (via ECF)
                                  September 3, 2024
Case April
     3:16-md-02738-MAS-RLS
           17, 2024-May 17, 2024Document 33222 in
                                 Cases Deficient Filed 09/03/24
                                                    Serving      Page 3Profile
                                                            a Plaintiff of 7 PageID:
                                                                               Form 257297
 This is the first month these cases have been listed to the Court. Failure to cure the deficiencies will result in
                   the cases being the subject of an Order to Show Cause on November 1, 2024
 Row #                   Case Name                              Combined Plaintiff Firms           Current Cause #
   1                   Zarifpour, Rabin                             Ashcraft & Gerel                 3:24-cv-05161
   2                    Hale, Claude                                Ashcraft & Gerel                 3:24-cv-05312
   3                   Araza, Margaret                              Ashcraft & Gerel                 3:24-cv-05365
   4                   Homa, Richard                                Ashcraft & Gerel                 3:24-cv-05315
   5                   Melnick, Walter                              Ashcraft & Gerel                 3:24-cv-05322
   6                 Morales, Cassaundra                            Ashcraft & Gerel                 3:24-cv-05320
   7                    Jones, Denise                               Ashcraft & Gerel                 3:24-cv-05324
   8                      Jain, Yukti                               Ashcraft & Gerel                 3:24-cv-05397
   9           Marochek-Rodgers, Deborah Lynn                       Ashcraft & Gerel                 3:24-cv-05393
  10                 Stoll, Anne Elizabeth                          Ashcraft & Gerel                 3:24-cv-05390
  11                  Beckham, Ashlon                               Ashcraft & Gerel                 3:24-cv-05459
  12                   Kittredge, Mary                              Ashcraft & Gerel                 3:24-cv-05461
  13                   Taplin, Melinda                              Ashcraft & Gerel                 3:24-cv-05540
  14                   Valenti, Michelle                            Ashcraft & Gerel                 3:24-cv-05464
  15                     Howell, Billy                              Ashcraft & Gerel                 3:24-cv-05866
  16                    Perkins, David                              Ashcraft & Gerel                 3:24-cv-05873
  17                 Maldonado, Carolyne                            Ashcraft & Gerel                 3:24-cv-05931
  18                   Dawn, Holbrook,                              Ashcraft & Gerel                 3:24-cv-06231
  19                   Everts, Sacoya                              Burns Charest LLP                 3:24-cv-05627
  20                    Gionti, Donna                              Burns Charest LLP                 3:24-cv-05626
  21                 Muomoa, Francisca                              Motley Rice, LLC                 3:24-cv-05801
  22                  Santos, Robin Lee                             Motley Rice, LLC                 3:24-cv-05935
  23                Hughes, Tiffany Nicole                               Pro se                      3:24-cv-06122
  24                    Murphy, Glynis                            Rosen Injury Lawyers               3:24-cv-05602
  25                    Mason, Hilary                        Saltz Mongeluzzi & Bendesky PC          3:24-cv-05828
                                                     September 3, 2024
Case 3:16-md-02738-MAS-RLS        Document
        Nov. 18, 2023-April 16, 2024        33222 in
                                     Cases Deficient Filed 09/03/24
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                                                               a Plaintiff   4 of 7Form
                                                                           Profile  PageID: 257298
       This is the second month these cases have been listed to the Court. Failure to cure the deficiencies will
                 result in the cases being the subject of an Order to Show Cause on October 1, 2024
 Row #                      Case Name                             Combined Plaintiff Firms            Current Cause #
   1                    Arbuckle, Gayla Nell                             Ashcraft & Gerel              3:24-cv-02948
   2                 Arnemann, Eleanore Marie                            Ashcraft & Gerel              3:23-cv-23233
   3                       Blank, Honey                                  Ashcraft & Gerel              3:24-cv-02800
   4                       Brito, Rosario                                Ashcraft & Gerel              3:23-cv-23078
   5                   Brown, Linda Elizabeth                            Ashcraft & Gerel              3:24-cv-02968
   6                   Byssainthe, Stephanie                             Ashcraft & Gerel              3:24-cv-00414
   7                      Canada, Rocky                                  Ashcraft & Gerel              3:23-cv-22868
   8                      Carey, Michelle                                Ashcraft & Gerel              3:24-cv-03210
   9                    Cole, Joanna Joyce                               Ashcraft & Gerel              3:24-cv-01470
  10                   Conley, Shirley Louise                            Ashcraft & Gerel              3:24-cv-01469
  11                    Denny, Erin Carolyn                              Ashcraft & Gerel              3:24-cv-03987
  12                        Dent, Marv                                   Ashcraft & Gerel              3:24-cv-04486
  13                      Domino, Marian                                 Ashcraft & Gerel              3:24-cv-04005
  14                   Dotson-Herron, Diane                              Ashcraft & Gerel              3:24-cv-00974
  15                      Elson, Timothy                                 Ashcraft & Gerel              3:24-cv-03233
  16                       Fulgaro, Betty                                Ashcraft & Gerel              3:24-cv-00386
  17                       Gullo, Ronald                                 Ashcraft & Gerel              3:24-cv-03195
  18                      Henze, Kathleen                                Ashcraft & Gerel              3:24-cv-02989
  19                       Houk, Patricia                                Ashcraft & Gerel              3:24-cv-03010
  20              Kealaonaona Levi, Laurie Michiko                       Ashcraft & Gerel              3:24-cv-03854
  21                      Leon, Veronica                                 Ashcraft & Gerel              3:24-cv-00967
  22                         Little, Beta                                Ashcraft & Gerel              3:23-cv-23252
  23                       Lofton, David                                 Ashcraft & Gerel              3:24-cv-01005
  24                     Loos, Dianne Sue                                Ashcraft & Gerel              3:24-cv-02810
  25                    Lukkasson, Charlene                              Ashcraft & Gerel              3:24-cv-01523
  26                    Mabe, Barbara Sue                                Ashcraft & Gerel              3:24-cv-03150
  27                      Mann, Deborah                                  Ashcraft & Gerel              3:24-cv-00531
  28                    Marvets, Peggy Ann                               Ashcraft & Gerel              3:23-cv-22895
  29                    Matthews, Kathleen                               Ashcraft & Gerel              3:24-cv-01492
  30                      Medina, Melody                                 Ashcraft & Gerel              3:23-cv-22825
  31                      Millican, Ronald                               Ashcraft & Gerel              3:24-cv-01001
  32                       Munoz, Sylvia                                 Ashcraft & Gerel              3:24-cv-04523
  33                   Noyes, Druscilla Diane                            Ashcraft & Gerel              3:23-cv-22859
  34                        Parey, Carol                                 Ashcraft & Gerel              3:23-cv-23106
  35                   Perkins, Tiffany Elaine                           Ashcraft & Gerel              3:23-cv-23259
  36                       Phipps, Keith                                 Ashcraft & Gerel              3:23-cv-22661
  37                      Reyes, Almaria                                 Ashcraft & Gerel              3:23-cv-22699
  38                   Richardson, Sharmane                              Ashcraft & Gerel              3:24-cv-04522
  39                    Sanders-Bey, Judith                              Ashcraft & Gerel              3:24-cv-01012
  40                      Schrock, Robert                                Ashcraft & Gerel              3:23-cv-22873
  41                   Shamburger, Rhonda                                Ashcraft & Gerel              3:24-cv-00876
  42                      Sherman, Cheryl                                Ashcraft & Gerel              3:24-cv-01583
  43                      Silas, Carolyn H                               Ashcraft & Gerel              3:23-cv-22723
  44                      Smallwood, Eula                                Ashcraft & Gerel              3:24-cv-01482
  45                       Smith, Landon                                 Ashcraft & Gerel              3:24-cv-04484
  46                      Sprague, Kevin                                 Ashcraft & Gerel              3:24-cv-04487
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 Row #             Case Name                 Combined Plaintiff Firms      Current Cause #
  47           Studt, Amanda Kim                  Ashcraft & Gerel          3:23-cv-23230
  48            Taormina, Mariana                 Ashcraft & Gerel          3:24-cv-03360
  49              Tarbor, Daree                   Ashcraft & Gerel          3:24-cv-03115
  50              Weimer, Sherri                  Ashcraft & Gerel          3:23-cv-22891
  51               Wise, Paula                    Ashcraft & Gerel          3:24-cv-00987
  52               Loudin, Judy             Ben Martin Law Group, PLLC      3:24-cv-04189
  53               Fowler, Judy                 Burns Charest LLP           3:24-cv-00455
  54             Helsper, Cheryl                Burns Charest LLP           3:24-cv-00438
  55              Miller, Chantell              Burns Charest LLP           3:24-cv-00432
  56                Weir, Lisa                  Burns Charest LLP           3:24-cv-00454
  57             Wolfe, Raichelle               Burns Charest LLP           3:24-cv-00440
  58            Moultrie, Sharnay               Bursor & Fisher P.A.        3:24-cv-04757
  59          Rivera, Varela, Melissa          Clayeo C. Arnold, APC        3:24-cv-00010
  60               Fitch, Karla                  Cohen Hirsch, LP           3:24-cv-00376
  61            Greer-Bell, Katrina              Cohen Hirsch, LP           3:23-cv-22837
  62             Healy, Elizabeth                Cohen Hirsch, LP           3:24-cv-00389
  63             McLeod, Debra                   Cohen Hirsch, LP           3:24-cv-00391
  64             Rutledge, Janet                 Cohen Hirsch, LP           3:24-cv-00393
  65             Lopez, Diana J.             Dalton and Associates, PA      3:24-cv-00431
  66            Sendgraff, Michelle            De La Rosa Law, P.A.         3:23-cv-23060
  67           Jefferson, Judy Ann            Dennis F. O'Brien, P.A.       3:24-cv-04061
  68             Brooks, Rhonda                Kirkendall Dwyer LLP         3:24-cv-04932
  69            Gonzalez, Barbara              Kirkendall Dwyer LLP         3:24-cv-05024
  70             Helton, Contrell              Kirkendall Dwyer LLP         3:24-cv-05026
  71             Inabinet, Belinda             Kirkendall Dwyer LLP         3:24-cv-05097
  72           Spangenberg, Kaylee             Kirkendall Dwyer LLP         3:24-cv-05023
  73             Carbo, Betty W.            Law Offices of John M. Robin    3:24-cv-00295
  74             Barfield, Melinda             Lober & Dobson, LLC          3:24-cv-01711
  75             Harris, Amanda                Ludwig Law Firm, PLC         3:24-cv-01299
  76            Barnes, Ronald L.                Motley Rice, LLC           3:24-cv-00173
  77          Bivens, Brittney Marsa             Motley Rice, LLC           3:24-cv-04401
  78           Burton, Shannon S.                Motley Rice, LLC           3:24-cv-04402
  79             Feldman, Julie B                Motley Rice, LLC           3:24-cv-00839
  80               Filer, Tracy                  Motley Rice, LLC           3:24-cv-01190
  81            Fontaine, Liette R.              Motley Rice, LLC           3:23-cv-23257
  82             France, Kelly S.                Motley Rice, LLC           3:24-cv-04405
  83             Hutzler, Bonnie                 Motley Rice, LLC           3:24-cv-01189
  84            Jones, Brenda C.                 Motley Rice, LLC           3:23-cv-22986
  85            Moore, Lisbeth L.                Motley Rice, LLC           3:24-cv-04407
  86              Peck, Jane A.                  Motley Rice, LLC           3:24-cv-04408
  87                Rank, Roy                    Motley Rice, LLC           3:23-cv-23140
  88             Ricci, Melissa M.               Motley Rice, LLC           3:23-cv-23145
  89               Ross, Casey                   Motley Rice, LLC           3:24-cv-00106
  90            Sangster, Susan L.               Motley Rice, LLC           3:24-cv-04400
  91          Verbracken, Kristine C.            Motley Rice, LLC           3:24-cv-00497
  92                Vick, Misty                  Motley Rice, LLC           3:24-cv-00624
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 Row #              Case Name                Combined Plaintiff Firms     Current Cause #
  93              Youmans, Lee A                 Motley Rice, LLC          3:23-cv-23366
  94                York, Nichole            Robinson Calcagnie, Inc.      3:24-cv-02788
  95            Hernandez, Joselina             Shaw Cowart, LLP           3:24-cv-00044
  96                 Terry, Keila             Simmons Hanly Conroy         3:23-cv-23080
  97                Darrow, John              Smith McBroom, PLLC          3:24-cv-00324
  98            Crittenden, Denise M        The Dilorenzo Law Firm, LLC    3:24-cv-04078
  99                Tiggs, Sylvia           The Dilorenzo Law Firm, LLC    3:24-cv-04079
  100                Aase, Kristi               Wagstaff Law Firm          3:24-cv-02984
  101             Anderson, Nancy               Wagstaff Law Firm          3:24-cv-03176
  102             Bland, Denessa                Wagstaff Law Firm          3:24-cv-03807
  103              Borges, Laura                Wagstaff Law Firm          3:24-cv-03128
  104              Brown, Laqvia                Wagstaff Law Firm          3:24-cv-02460
  105             Caldwell, Charles             Wagstaff Law Firm          3:24-cv-03114
  106             Campany, Terry                Wagstaff Law Firm          3:24-cv-03130
  107             Chance, Marsha                Wagstaff Law Firm          3:24-cv-02979
  108           Coble, George Drew              Wagstaff Law Firm          3:24-cv-03088
  109           Crawford, Stephanie             Wagstaff Law Firm          3:24-cv-02890
  110              Drakeford, Lee               Wagstaff Law Firm          3:24-cv-03003
  111          Fields, Sherry Deanine           Wagstaff Law Firm          3:24-cv-02523
  112             Furlow, Tametria              Wagstaff Law Firm          3:24-cv-02911
  113               Garcia, Rocio               Wagstaff Law Firm          3:24-cv-02856
  114              Gibson, Shelley              Wagstaff Law Firm          3:24-cv-03102
  115              Gomez, Gloria                Wagstaff Law Firm          3:24-cv-03055
  116             Gonzalez, Luisa               Wagstaff Law Firm          3:24-cv-02975
  117               Hale, Donna                 Wagstaff Law Firm          3:24-cv-02593
  118                Hark, Lois                 Wagstaff Law Firm          3:24-cv-03060
  119              Harris, Sandra               Wagstaff Law Firm          3:24-cv-02873
  120             Hunter, Kimberly              Wagstaff Law Firm          3:24-cv-03014
  121            Jeffers, Ashauntee             Wagstaff Law Firm          3:24-cv-03189
  122               Kelley, Peggy               Wagstaff Law Firm          3:24-cv-02847
  123             Kodare, Rowena                Wagstaff Law Firm          3:24-cv-02862
  124              Kramer, Crystal              Wagstaff Law Firm          3:24-cv-02954
  125               Lail, Donald                Wagstaff Law Firm          3:24-cv-03136
  126              Marchi, Kathryn              Wagstaff Law Firm          3:24-cv-03013
  127             Matthews, Susan               Wagstaff Law Firm          3:24-cv-02491
  128               Moore, Erika                Wagstaff Law Firm          3:24-cv-02964
  129               Morfin, Sarah               Wagstaff Law Firm          3:24-cv-02880
  130             Morgan, Barbara               Wagstaff Law Firm          3:24-cv-02943
  131               Nielsen, Amy                Wagstaff Law Firm          3:24-cv-02938
  132               Nixon, Mary                 Wagstaff Law Firm          3:24-cv-02571
  133             Parker, Michelle              Wagstaff Law Firm          3:24-cv-02542
  134             Peppers, Dorann               Wagstaff Law Firm          3:24-cv-03104
  135        Picchierri-Grodzinksi, Laura       Wagstaff Law Firm          3:24-cv-03096
  136               Price, Susan                Wagstaff Law Firm          3:24-cv-02903
  137                Reed, Sue                  Wagstaff Law Firm          3:24-cv-03043
  138             Scarberry, Estelle            Wagstaff Law Firm          3:24-cv-03047
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 Row #            Case Name                   Combined Plaintiff Firms         Current Cause #
  139            Selin, Jennifer                 Wagstaff Law Firm              3:24-cv-02514
  140           Shumaker, Nicole                 Wagstaff Law Firm              3:24-cv-02839
  141           Simmons, Teresa                  Wagstaff Law Firm              3:24-cv-02584
  142            Simpson, Vicki                  Wagstaff Law Firm              3:24-cv-03039
  143             Smith, Adam                    Wagstaff Law Firm              3:24-cv-03149
  144           Tanner, Deanna                   Wagstaff Law Firm              3:24-cv-02957
  145          Thomas, Bernadette                Wagstaff Law Firm              3:24-cv-02944
  146             Todd, Krystle                  Wagstaff Law Firm              3:24-cv-02986
  147             Wallin, Terry                  Wagstaff Law Firm              3:24-cv-03187
  148          Washington, Joyce                 Wagstaff Law Firm              3:24-cv-03153
  149            Welker, Abbie                   Wagstaff Law Firm              3:24-cv-02931
  150           Willard, Theresa                 Wagstaff Law Firm              3:24-cv-02532
  151           Williams, Roneear                Wagstaff Law Firm              3:24-cv-02540
  152          Williamson, Cheryl                Wagstaff Law Firm              3:24-cv-03078
  153             Woodall, April                 Wagstaff Law Firm              3:24-cv-03084
  154           Woodards, Shana                  Wagstaff Law Firm              3:24-cv-02885
  155            Zeno, Valencia                  Wagstaff Law Firm              3:24-cv-02926
  156            Smith, Antaeus          Williams Kherkher Hart Boundas, LLP    3:24-cv-02126
